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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




    UNITED STATES OF AMERICA,          No. CR 13-574 DSF
        Plaintiff,
                                       ORDER RE BRIEFING ON
                    v.                 MOTION FOR REDUCTION OF
                                       SENTENCE
    ERIC GONZALEZ,
         Defendant.



      The government is ordered to file an opposition to Defendant’s
   motion no later than February 10, 2021. Defendant may file a reply no
   later than March 15, 2021.



      IT IS SO ORDERED.



    Date: January 12, 2021             ___________________________
                                       Dale S. Fischer
                                       United States District Judge
